     Case 3:12-cr-00475-BTM   Document 30    Filed 02/29/12   PageID.46          Page 1 of 1



                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                   CASE NO. 12CR475-BTM

                      Plaintiff,
                                                                       Fll.. ED
              vs.

LAURA VERONICA CANO-PEREZ,
                                            JUDGMENT OF        I!SSAL---:::l
                                                                       ~.~
                                                                      _.FEB 2 9
                                                                 CLERK, \,;.~\. ",;~., i~!CT COURT
                                                              SOUTHERN tHSTRICT OF
                      Defendant.                              ~                          ~--~



          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__
 X__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

___
  X_ of the offense(s) as charged in the Information:
     8:1324(a) (1) (A) (iv) and (v) (II)




          IT IS THEREFORE ADJUDGED that the


 DATED: 2/28/12
                                             JAN
                                             U.S. Magistrate Judge
